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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF LOUISIANA

VIET ANH VO                                          CIVIL ACTION

VERSUS                                               NO. 16-15639


REBEKAH E. GEE,                                      SECTION “B”(5)
SECRETARY OF THE DEPARTMENT
OF HEALTH, ET AL


                                  OPINION

      Before the court are Defendant Perret’s “Motion to Transfer

Pursuant to 28 U.S.C section 1404(a)” (Rec. Doc. 50), Plaintiff’s

“Memorandum in Support of Plaintiff’s Opposition to Defendant

Louis J. Perret’s Motion to Transfer Venue” (Rec. Doc. 61),

Defendants Broussard and Thibodeaux’s “Motion to Transfer Pursuant

to 28 U.S.C section 1404(a)”( Rec. Doc. 48) and Plaintiff’s

“Memorandum in Support of Plaintiff’s Opposition to Defendants’

Diane Meaux Broussard and Michael Thibodeaux’s Motion to Transfer

Venue” (Rec. Doc. 62), Defendants Broussard and Thibodeaux’s “Rule

12   (b)(6)   Motion    to   Dismiss”     (Rec.   Doc.   47),   Plaintiff’s

“Memorandum in Support of Plaintiff’s Opposition to Defendants’

Broussard and Thibodeaux’s Rule 12(b)(6) Motion to Dismiss” (Rec.

Doc. 59), Defendant Perret’s “Rule 12(b)(6) Motion to Dismiss”

(Rec. Doc. 49), Plaintiff’s “Memorandum in Support of Plaintiff’s

Opposition to Defendant Perret’s Rule 12(b)(6) Motion to Dismiss”

(Rec. Doc. 60),“Plaintiff’s Motion for Preliminary Injunction”


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(Rec. Doc 37), Defendants Gee and George’s “Incorporated Pre-Trial

Brief and Memorandum in Opposition to Plaintiff’s Motion for

Preliminary    Injunction”     (Rec.       Doc.   55),    Defendant   Perret’s

“Memorandum in Opposition to Plaintiff’s Motion for Preliminary

Injunction” (Rec Doc. 57), “Reply Memorandum of Law in Support of

Plaintiff’s Motion for Preliminary Injunction” (Rec. Doc. 66),

“Brief of Constitutional Accountability Center as Amicus Curiae in

Support of Plaintiff’s Motion for Preliminary Injunction” (Rec.

Doc. 43), “Brief of Amicus Curiae the American Civil Liberties

Union Foundation of Louisiana in Support of Plaintiff’s Motion for

Preliminary Injunction” (Rec. Doc. 44), “Brief of Amici Curiae

National   Center   for   Lesbian   Rights,       GLBTQ   Legal   Advocates   &

Defenders and LAMBDA Legal in Support of Plaintiff’s Motion for

Preliminary Injunction” (Rec. Doc. 45). For the reasons set forth

below, IT IS ORDERED that Defendants’ Motions to Transfer and

Motions to Dismiss are DENIED. IT IS FURTHER ORDERED that the

Motion for Preliminary Injunction is GRANTED.

I.    FACTS AND PROCEDURAL HISTORY

      The Plaintiff has brought a complaint for declaratory and

injunctive relief against Defendant Rebekah Gee, the Secretary of

the Department of Health and Hospitals for the State of Louisiana,

Defendant Devin George, State Registrar and Director of the Office

of Vital Records, Defendant Michael Thibodeaux, Clerk of Court for

Iberia Parish, Defendant Diane Meaux Broussard, Clerk of Court for

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Vermilion Parish and Defendant Louis J. Perret, Clerk of Court for

Lafayette Parish.

     Plaintiff, Viet “Victor” Anh Vo was born in an Indonesian

refugee camp after his parents (both Vietnamese nationals) fled

Vietnam   as   refugees   (Rec.   Doc.   1).   Given   this   circumstance,

Indonesian and Vietnamese authorities have never recognized his

birth and consequently he has never been issued a birth certificate

from a government entity (Rec. Doc. 1).         Plaintiff has resided in

Louisiana since he was three months old and became a naturalized

citizen when he was eight years old (Rec. Doc. 1). In 2016,

Plaintiff and his girlfriend (a fellow United States citizen)

decided to get married and applied for a marriage license from the

state of Louisiana (Rec. Doc. 1).

     Plaintiff was denied a marriage license pursuant to Act 436

which requires that all applicants for a marriage license provide

a certified birth certificate, a valid and unexpired passport, or

an unexpired visa accompanied by a Form I-94 (Rec. Doc. 1). Act

436 has a waiver of the birth certificate requirement but in order

to qualify for the waiver an applicant must be a U.S. citizen that

was born in the United States or one of its territories. Plaintiff

was born outside of the United States and is naturalized citizen

and therefore did not qualify for the waiver (Rec. Doc. 1).

Plaintiff provided other official documents to the Clerk of Court

including a social security number and a Louisiana state driver’s

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license, but without a birth certificate as required by Act 436,

the state of Louisiana refused to issue him a marriage license

(Rec. Doc. 1).

II.    FACTUAL AND LEGAL FINDINGS

       A. Defendants’ Motions to Transfer

       Defendants Brossard, Thibodeaux and Perret jointly bring a

motion to transfer pursuant to 28 U.S.C. section 1404(a). Under

the statute venue may be transferred to any other district where

the action might have been brought for “the convenience of the

parties of witnesses and in the interest of justice.” Id. However,

“the plaintiff's privilege to choose, or not to be ousted from,

his chosen forum is highly esteemed. The burden of proof in a

motion to transfer is on the moving party. Unless the balance of

factors strongly favors the moving party, the plaintiff's choice

of forum generally should not be disturbed.” Carpenter v. Parker

Drilling Offshore United States, Case No. 05-365, 2005 U.S. Dist.

LEXIS 11979, at*5 (E.D. La. June 16, 2005).

       In the Fifth Circuit the court looks at eight primary factors

when determining if a transfer is appropriate. In re Volkswagen of

Am., Inc., 545 F.3d 304 (5th Cir. 2008). There are four private

interest factors and four public interest factors. In re Volkswagen

of Am., Inc., 545 F.3d 304. The private interest factors are: “(1)

the    relative   ease   of   access   to   sources   of   proof;   (2)     the

availability of compulsory process to secure the attendance of

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witnesses; (3) the cost of attendance for willing witnesses; and

(4) all other practical problems that make trial of a case easy,

expeditious and inexpensive.” Id. The four public interest factors

are:    “(1)   the    administrative         difficulties      flowing       from

court congestion;    (2)    the    local   interest     in   having   localized

interests decided at home; (3) the familiarity of the forum with

the law that will govern the case; and (4) the avoidance of

unnecessary problems of conflict of laws [or in] the application

of foreign law.” Id. None of the factors can be said to be of

dispositive    weight.     Id.    Nonetheless,     in   analyzing     the    eight

factors collectively, this Court finds that the Defendants’ motion

for a transfer is not appropriate.

  1. The relative ease of access to sources of proof

  The    instant   legal   dispute    does   not    require    intensive      fact

discovery and therefore access to sources of proof will not be a

significant factor in this case. Both the Plaintiff and Defendants

agree that the Plaintiff was denied a marriage license because of

Act 436. The controversy is entirely legal and therefore this

factor does not weigh in the favor of the Defendants motion to

transfer venue.

  2. The    availability     of    compulsory      process    to    secure     the

       attendance of witnesses

  The Defendants argue that most of, if not all, of the witnesses

in this case are located in the Western District of Louisiana and

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therefore in cities beyond the 100-mile subpoena power of this

Court. They further argue that for an unwilling witness, this could

be detrimental to the Defendants’ case. However, as Plaintiff

explains, a person can be compelled to testify anywhere in the

state where he or she resides or conducts business if the person

is a “party or a party’s officer.” Fed. R. Civ. P. 45(c)(1)(B)(i).

All of the witnesses in this case reside and conduct business in

Louisiana and therefore hailing them into court will not be an

issue. Furthermore, this case does not hinge upon disputed facts

but whether or not the law itself is unconstitutional. Therefore

witnesses will not be a large concern as this case proceeds towards

trial.    This    factor    weighs    against   the   Defendants’     motion   to

transfer venue.

     3. The cost of attendance for willing witnesses

     Defendants    argue    that     the   costs   for   witnesses    would    be

significant if the case is not transferred to the Western District.

However, the Defendants have not explained with specificity why

the Eastern District would be a burden and what key witnesses would

be    impacted.    In   a   recent    Eastern   District   case   a   Defendant

similarly argued that “the costs for willing witnesses from Lake

Charles to attend proceedings in Lake Charles would be minimal,

but costs for their travel 205 miles to New Orleans would be

significant.” Broussard v. First Tower Loan, LLC, 135 F. Supp. 3d

540, 547(E.D. La. 2015).             However the court ruled that “this

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allegation is not sufficient to meet the movant's burden. Thus,

this factor supports maintaining venue in the Eastern District.”

Id. This Court follows this logic as well and given the Defendants’

lack of specificity, this factor also weighs in favor of denying

the motion to transfer.

  4. All other practical factors that make trial of a case easy,

     expeditious and inexpensive

  There is no indication that a transfer will have any impact on

the trial of this case. This factor is neutral and therefore does

not weigh in favor of the Defendants’ motion to transfer.

  5. The administrative difficulties flowing from court congestion

  Defendants state that there are no known differences between

the Western District and the Eastern District regarding court

congestion. Plaintiff however cites compelling evidence from the

Administrative Office of the United States Court. The Western

District has a significantly longer resolution timeline than the

Eastern District. This factor weighs heavily against a transfer in

venue as it would lead to a protracted litigation schedule.

  6. The local interest in having localized interests decided at

     home

  The Defendants contend that because the three clerks reside in

the Western District that the case should be transferred there

because   of   a   particularized   local   interest.   However,   as    the

Plaintiff points out, the actions of these clerks have nothing to

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do with their residence in the Western District. They are merely

complying with the plain language of a statute that is uniformly

enforced across the entire state of Louisiana. This factor does

not weigh in favor of granting the Defendants’ motion to transfer.

  7. The familiarity of the forum with the law that will govern

     the case

  Judges in the Eastern District and the Western District are both

familiar with the forum law and therefore this factor does not

support the Defendant’s motion to transfer.

  8. The avoidance of unnecessary problems of conflict of law or

     in the application of foreign law

  This Court does not find that there are any issues regarding

conflict of law between the Eastern and Western Districts. This

factor does not weigh in favor of the Defendants’ motion. None of

the factors that the Fifth Circuit analyzes convinces this Court

that the matter should be transferred to the Western District of

Louisiana.

     B. Defendants’ Motions to Dismiss

     Rule 12(b)(6) of the Federal Rules of Civil Procedure allows

a party to move for dismissal of a complaint for failure to state

a claim upon which relief can be granted. Such a motion is rarely

granted because it is viewed with disfavor. See Lowrey v. Tex. A

& M Univ. Sys., 117 F.3d 242, 247 (5th Cir.1997) (quoting Kaiser




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Aluminum & Chem. Sales, Inc. v. Avondale Shipyards, Inc., 677 F.2d

1045, 1050 (5th Cir. 1982)).

       When reviewing a motion to dismiss, courts must accept all

well-pleaded     facts    as    true      and    view   them   in    the   light   most

favorable to the non-moving party. Baker v. Putnal, 75 F.3d 190,

196 (5th Cir. 1996). However, “[f]actual allegations must be enough

to raise a right to relief above the speculative level.” Bell Atl.

Corp. v. Twombly, 550 U.S. 544, 555 (2007). “To survive a motion

to dismiss, a complaint must contain sufficient factual matter,

accepted as true, to state a claim to relief that is plausible on

its    face.”   Gonzales       v.    Kay,       577   F.3d    600,   603    (5th   Cir.

2009)(quoting      Ashcroft          v.     Iqbal,      129    S.Ct.       1937,   1949

(2009))(internal quotation marks omitted). The Supreme Court in

Iqbal explained that Twombly promulgated a “two-pronged approach”

to determine whether a complaint states a plausible claim for

relief. Iqbal, 129 S.Ct. at 1950. First, courts must identify those

pleadings that, “because they are no more than conclusions, are

not entitled to the assumption of truth.” Id. Legal conclusions

“must    be   supported    by       factual      allegations.”       Id.   “Threadbare

recitals of the elements of a cause of action, supported by mere

conclusory statements, do not suffice.” Id. at 1949.

       Upon identifying the well-pleaded factual allegations, courts

“assume their veracity and then determine whether they plausibly

give rise to an entitlement of relief.” Id. at 1950. A claim has

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facial plausibility when the plaintiff pleads factual content that

allows   the   court    to   draw    the     reasonable   inference       that    the

defendant is liable for the misconduct alleged.” Id. at 1949. This

is a “context-specific task that requires the reviewing court to

draw   on   its   judicial    experience       and    common    sense.”    Id.    The

plaintiffs     must    “nudge[]     their    claims    across    the   line      from

conceivable to plausible.” Twombly, 550 U.S. at 570.

       Defendants Brossard, Thibodeaux and Perret jointly bring a

motion to dismiss on the basis that they lack Monell liability.

The Defendants argues that under the Supreme Court’s holding in

Monell that they can only be sued if they were a moving force of

the alleged unlawful constitutional deprivation at issue. City of

Canton v. Harris, 489 U.S. 378, 389 (1989). The clerks of the

various parishes in the instant litigation argue that there is no

allegation that the clerks engaged in any unlawful conduct or any

unconstitutional custom, policy, or procedure that would permit

Monell liability. In their motion to dismiss the clerks argue that

even though they are responsible for the actual implementation of

Act’s 436’s requirements, they had no choice but to follow the

mandates of state law. In other words, the clerks argue that they

were “just doing their job.”

       The Plaintiff argues, and this Court agrees, that this is

precisely why these clerks are appropriate parties to the instant

lawsuit. The Fifth Circuit explained, “the State cannot dissociate

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itself from actions taken under its laws by labeling those it

commands to act as local officials. A county official pursues his

duties as a state agent when he is enforcing state law or policy.

He acts as a county agent when he is enforcing county law or

policy. It may be possible for the officer to wear both state and

county hats at the same time, but when a state statute directs the

actions of an official, as here, the officer, be he state or local,

is acting as a state official.” Echols v. Parker, 909 F.2d 795,

801(5th Cir. 1990).

       Furthermore, as Plaintiff points out, the Monell requirements

that the defendants reference apply where a municipal official

acts in a local capacity, not where the official preforms as a

state actor. Cain v. City of New Orleans, Case No. 15-4479, 2017

U.S.   Dist.   LEXIS   15124,   at*53    (E.D.   La.   Feb.   3,   2017).   The

appropriate standard that should be used in the instant matter is

the one found in Ex Parte Young. Ex parte Young, 209 U.S. 123,

155-156 (1908); Okpalobi v. Foster, 244 F.3d 405, 411 (5th Cir.

2001). This standard is appropriate because (1) the clerks are

acting as state officials when they enforce Act 436; (2) the

constitutional violations are ongoing; and (3) the Plaintiff seeks

injunctive relief. Cain v. City of New Orleans, U.S. Dist. LEXIS

15124, at*52-53. Other Circuits have also found liability under Ex

Parte Young to be appropriate in similar factual scenarios. Bostic

v. Schaefer, 760 F.3d 352, 371 n.3. (4th Cir. 2014)(City clerk that

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issued marriage licenses was a proper defendant under Ex Parte

Young for suit challenging state law). Given that the Defendants

are still liable under the relevant standard, this Court finds

their motions to dismiss to be inappropriate. Nonetheless, given

the factual allegations in the complaint this Court finds that it

may be appropriate to amend the complaint to include 42 U.S. Code

§ 1983 jurisdictional claims. Any amendments to the complaint

should be filed within 14 days from the issuance of this order.

     C. Plaintiff’s Motion for Preliminary Injunction

     A threshold issue in the Defendant’s Opposition to the Motion

for Preliminary Injunction is that the Plaintiff lacks standing.

The Defendants contend that the particular facts of this case, the

denial of a marriage license, do not confer article III standing

to the Plaintiff. Nonetheless, in the Fifth Circuit, the very act

of denying a marriage license to a plaintiff in contravention of

their constitutional rights has been held to constitute article

III standing. De Leon v. Perry, 975 F. Supp. 2d 632, 646 (W.D.

Tex. 2014). The Plaintiff in the instant matter was denied a

marriage license on three separate occasions by each of the Clerk

Defendants. This Court finds these facts sufficient to establish

article III standing.

     To   secure   a   preliminary       injunction   a   Plaintiff   must

establish: (1) a substantial likelihood of success on the merits

;(2) a substantial threat of irreparable injury if the injunction

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is not issued; (3) that the threated injury if the injunction is

denied outweighs any harm that will result is the injunction is

granted; and (4) that the grant of the injunction will not disserve

the public interest. Sells v. Livingston, 750 F.3d 478, 480 (5th

Cir. 2014).

     1. Likelihood of Success on the Merits

     In the Fifth Circuit in order “to assess the likelihood of

success on the merits, we look to standards provided by the

substantive law.” Jordan v. Fisher, 823 F.3d 805, 809 (5th Cir.

2016). Furthermore, “to show a likelihood of success, the plaintiff

must present a prima facie case, but need not prove that he is

entitled   to   summary   judgment.”     Daniels   Health   Scis.,   LLC   v.

Vascular Health Scis., LLC, 710 F.3d 579, 582 (5th Cir. 2013). In

the instant matter Plaintiff has demonstrated that there is a

likelihood of success on the merits. Plaintiff has established a

prima facie case that the effects of the statute are likely

unconstitutional under the Equal Protect Clause since it adversely

treats naturalized citizens differently from citizens born in the

United States.    Specifically, the birth certificate provisions

impermissibly discriminate against the Plaintiff based on his

national origin and deny him, a naturalized U.S. citizen, the

fundamental right to marry.

     The Equal Protection Clause protects all individuals from

state discrimination. Plyer v. Doe, 457 U.S. 202, 210 (1982).              The

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Supreme Court has clarified that “these provisions are universal

in   their   application,    to    all    persons    within    the   territorial

jurisdiction, without regard to any differences of race, of color,

or of nationality; and the equal protection of the laws is a pledge

of the protection of equal laws. Yick Wo v. Hopkins, 118 U.S. 356,

369 (1886). Even though states retain a broad power to classify

individuals under an Equal Protection analysis, “classifications

based on alienage, like those based on nationality or race, are

inherently suspect and subject to close judicial scrutiny.” Graham

v. Richardson, 403 U.S. 365, 372 (1971).

      Classifications,      such   as    the   one   made     by   the   state   of

Louisiana pursuant to Act 436 “must be analyzed by a reviewing

court under strict scrutiny, that is, such classifications are

constitutional only if they are narrowly tailored measures that

further compelling governmental interests.” Adarand Constructors,

Inc. v. Mineta, 534 U.S. 103, 105 (2001). The birth certificate

provisions that the Louisiana legislature enacted creates adverse

classifications that distinguish between United States citizens on

the basis of their national origin. If the Plaintiff was born in

the United States and lacked a birth certification he could apply

for the waiver and the state of Louisiana would grant him a

marriage license. However, because the Plaintiff was born overseas

and then became a naturalized citizen he is ineligible to apply

for the waiver. The state of Louisiana would have to demonstrate

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that     these      classifications         further       compelling         governmental

interest      that       justify     treating      the    U.S.     citizen      Plaintiff

differently from other U.S. citizens merely because of where he

was born.

       In addition, the Plaintiff has established a prima facie case

that Act 436 is unconstitutional by denying him a fundamental

right, the right to marriage. Obergefell v. Hodges, 135 S. Ct.

2584, 2602-2603 (2015). Even though states may impose reasonable

regulations on marriage, the Supreme Court has applied a strict

scrutiny          test    when       regulations       “interfere        directly      and

substantially with the right to marry.” Zablocki v. Redhail, 434

U.S. 374, 387 (1978). The current birth certificate provisions

completely bar the Plaintiff from obtaining a marriage license.

Given the heighted level of scrutiny that classifications based on

national origin require, this Court finds that the Plaintiff has

a likelihood of success on the merits of his equal protection

claims      and    therefore     satisfies       the     first    requirement     of   the

Plaintiff’s motion for preliminary injunction.

       2. Threat of Irreparable Injury

       In    order       to   meet   this   requirement          for   the   preliminary

injunction the Plaintiff must demonstrate that he is “likely to

suffer irreparable harm, that is, harm for which there is no

adequate remedy at law.” Daniels Health Scis., LLC, 710 F.3d 579,

585 (internal quotations omitted). The Fifth Circuit clarified and

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explained, “an injury is irreparable only if it cannot be undone

through monetary remedies.” Deerfield Medical Center v. Deerfield

Beach, 661 F.2d 328, 338, (5th Cir. 1981) (internal quotations

omitted). Under Louisiana state law the Plaintiff is currently

being denied the right to marriage. There is no monetary award

that can provide him that right and therefore he is likely to

suffer irreparable harm. In addition, the Fifth Circuit has held

that the denial of constitutional rights “for even minimal periods

of time constitutes irreparable injury justifying the grant of a

preliminary injunction.” Deerfield Medical Center, 661 F.2d 328,

338. The Plaintiff has been denied the right to marry since early

2016. Act 436’s deprivation of the Plaintiff’s fundamental right

to marriage satisfies the requirement that the Plaintiff face the

threat of irreparable harm.

     3. Weighing of the harms

     In order to obtain a preliminary injunction the Plaintiff

must demonstrate that the threatened injuries outweigh any damage

that the injunction will cause the defendant. Sells, 750 F.3d 478,

480. This Court finds that the balancing analysis weighs heavily

in the favor of the Plaintiff. The state of Louisiana is not harmed

by having to issue a marriage license to, in this case, a United

States   citizen   who   merely   lacks   a   birth   certificate   due   to

circumstances beyond his control. Louisiana’s enjoinment from

enforcing a likely unconstitutional law does not outweigh the

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Plaintiff’s fundamental right to marriage. Hobby Lobby Stores,

Inc. v. Sebelius, 723 F.3d 1114, 1145 (10th Cir. 2013).

       4. Whether the injunction will disserve the public interest

       The   Fifth   Circuit    has     held      that   injunctions       protecting

constitutional       freedoms    are    always      in     the    public    interest.

Texans for Free Enter. v. Tex. Ethics Comm'n, 732 F.3d 535, 539,

(5th Cir. 2013). In the instant matter the preliminary injunction

would protect the fundamental right to marriage and the right to

be free from unconstitutional discriminatory classifications based

on national origin. Consequently, this factor also weighs in favor

of the Plaintiff.

       The    Plaintiff’s      Motion     for      Preliminary      Injunction      is

appropriate and applies to all individuals whose constitutional

rights would be curtailed by Act 436. As a nation we should welcome

all    United    States   citizens,      born      in    the     United    States   or

naturalized, to enjoy all of the rights and privileges that are

bestowed upon them through their citizenship. These rights should

not    be    abridged   just    because       a   United    States        citizen   was

naturalized instead of being born on our soil.



       New Orleans, Louisiana, this 23rd day of March, 2017.



                                        __________________________________
                                        SENIOR UNITED STATES DISTRICT JUDGE


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